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                         UNITED STATES DISTRICT COURT

                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                    :     CRIMINAL NO. 3:16CR207 (AWT)

      v.                                    :

RAMON GOMEZ                                 :     December 14, 2017



                 MOTION TO REOPEN SENTENCING PROCEEDINGS

      The defendant, Ramon Gomez, hereby requests that Court reopen the

sentencing proceedings to consider newly discovered evidence that is relevant to the

ultimate sentence that should be imposed in this case. In support of this request, the

defendant states as follows:

      1. The defendant’s sentencing hearing was on December 12, 2017.

      2. Later that evening, a news report was published in the New London Day,

publicly referencing the contents of a previously sealed filing by the government. This

file, although captioned and filed as a sealed motion, was reportedly accessed by the

paper because of a filing error by the government.

      3. This fact of this news report and the fact that a sealed matter was purportedly

accessed by the paper is new evidence that is relevant to sentencing.

      4. Counsel for the government has also been consulted about this request and

has indicated that the government defers to the Court’s discretion on this issue.

      WHEREFORE, it is respectfully requested that the sentencing proceeding be

reopened to consider the impact of this newly disclosed information and that sentencing
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be imposed after such consideration is complete.



                                           Respectfully submitted,

                                           THE DEFENDANT,
                                           Ramon Gomez



                                            /s/ Michael O. Sheehan
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                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was sent by e-mail to all parties by operation of
the Court's electronic filing system, or by mail to anyone unable to accept electronic
filing.

                                           /s/ Michael O. Sheehan




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